Case 2:04-CV-02772-BBD-tmp Document 25 Filed 05/19/05 Page 1 of 3 Page|D 37

IN THE UNITED STATES DISTRICT COURT

FoR THE wESTE:RN DISTRICT oF TENNESSEE Fu.ED ur%_`__w gm

WESTERN DIVISION

   

RQE§EF“‘ ‘FHCUO
MICHAEL HIGGINBOTTOM' et al.' CJNKL% )SEC?
UJE fe wm XIHUMS

 

Plaintiffs,
vs.

Civ. NO. 04-2772-DZP

METHODIST HOSPITALS OF
MEMPHIS, et al.,

Defendants.

~_¢\_/\_r\._r\_¢`_d-..z-\_#v-_z'~..z~._¢

 

ORDER GRANTING JOINT MOTION FOR MODIFICATION OF THE COURT'S
SCHEDULING ORDER

 

Before the court is the parties' Joint Motion for Modification
of the Court's Scheduling Order, filed April 14, 2005 (dkt #20).
In support of their motion, the parties state that the complaint
has recently been amended to add two new defendants, and that the
scheduling order needs to be amended to give the new defendants an
opportunity' to file appropriate motions and to take part in
discovery. For good cause shown, the motion is GRANTED. An
amended scheduling order will be entered by separate order.

The District Judge will notify the parties of the new trial

/\;S?D

/\ O£/`\
WM. PHAM

United States Magistrate Judge

`§his document entered on the clegg st;§et in com liance 5 { \<6(0>
' O‘ §>; ; l \

mm Hu!e 53 andfor ?'9(3) FHCP cm ___, Dat e

date.

IT IS SO ORDERED.

 

915

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02772 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

ESSEE

 

William L. Bomar
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Jeffery A. Jarratt

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Michael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MlTCHELL

40 S. Main St.
Ste. 2900
1\/1emphis7 TN 38103--552

Bradley W. Eskins
ESKINS KlNG7 PC
50 N. Front St.

Ste. 1 170

1\/1emphis7 TN 38103

James E. King
ESKINS KlNG7 PC
50 N. Front St.

Ste. 1170

1\/1emphis7 TN 38103

Elijah Noel

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Case 2:04-CV-O2772-BBD-tmp Document 25 Filed 05/19/05 Page 3 of 3 Page|D 39

William W. Dunlap

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

